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       Case 2:04-cv-09049-DOC-RNB Document 3818-4 Filed 05/27/08 Page 3 of 63 Page ID
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       Case 2:04-cv-09049-DOC-RNB Document 3818-4 Filed 05/27/08 Page 4 of 63 Page ID
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       Case 2:04-cv-09049-DOC-RNB Document 3818-4 Filed 05/27/08 Page 5 of 63 Page ID
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       Case 2:04-cv-09049-DOC-RNB Document 3818-4 Filed 05/27/08 Page 6 of 63 Page ID
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       Case 2:04-cv-09049-DOC-RNB Document 3818-4 Filed 05/27/08 Page 7 of 63 Page ID
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       Case 2:04-cv-09049-DOC-RNB Document 3818-4 Filed 05/27/08 Page 11 of 63 Page ID
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